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                        UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW HAMPSHIRE

Parker Tirrell, by her parents and next friends Sara Tirrell
and Zachary Tirrell, and

Iris Turmelle, by her parents and next friends Amy
Manzelli and Chad Turmelle,

       Plaintiffs.
                                                                   Civil Action No. 1:24-cv-00251
       v.

Frank Edelblut, in his official capacity as Commissioner of
the New Hampshire Department of Education;

Andrew Cline, Kate Cassady, Ann Lane, Philip Nazzaro,
Rajesh Nair, James Fricchione, and James Laboe, in their           EXPEDITED EMERGENCY
official capacities as members of the New Hampshire                RELIEF REQUESTED
State Board of Education;

Pemi-Baker Regional School District;

Lisa Ash, Bernice Sullivan, Sheila Donahue, Tony Torino,
Carolyn Varin, Peter Jackson, Phil McCormack, Greg
Aprilliano, Bonnie Acton, Barbara Noyes, Paul Ciotti,
Sam Brickley, and Paul Pizzano, in their official
capacities as members of the Pemi-Baker Regional School
Board;

Pembroke School District; and

Andrew Camidge, Gene Gauss, Kerri Dean, and Melanie
Camelo, in their official capacities as members of the
Pembroke School Board,

       Defendants.



                   PLAINTIFF PARKER TIRRELL’S
        EMERGENCY MOTION FOR TEMPORARY RESTRAINING ORDER
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       Plaintiff Parker Tirrell (“Parker”) is a fifteen-year-old transgender girl who is entering tenth

grade at Plymouth Regional High School which is part of the Pemi-Baker Regional School District.

Parker played on the girls’ soccer team last year in ninth grade and is she is excited to rejoin her

team when this season begins. Practice begins on August 19, 2024; games begin August 30,

2024. Parker brings this case challenging her exclusion from the girls’ soccer team, a critical aspect

of her education, because of a newly enacted New Hampshire law barring transgender girls from

participation in school sports.

       Parker’s school, through its counsel, has stated that Parker will not be able to participate as

a member of the girls’ soccer team. See Exhibit A. Further, on August 15, 2024, Parker’s mother,

Sara Tirrell, received an email from the school superintendent stating that Parker will not even be

allowed to participate in practice, which begins Monday August 19, 2024. See Exhibit B.

       Pursuant to Federal Rule of Civil Procedure 65(b), Plaintiff Parker Tirrell, by her next

friends and parents Sara Tirrell and Zachary Tirrell, seeks immediate relief to allow her to

participate in practice beginning August 19, 2024 and games beginning August 30, 2024, and

moves this Court to temporarily enjoin Defendants Frank Edelblut, in his official capacity as

Commissioner of the New Hampshire Department of Education; Andrew Cline, Kate Cassady,

Ann Lane, Philip Nazzaro, Rajesh Nair, James Fricchione, and James Laboe, in their official

capacities as members of the New Hampshire State Board of Education; Pemi-Baker Regional

School District; and Lisa Ash, Bernice Sullivan, Sheila Donahue, Tony Torino, Carolyn Varin,

Peter Jackson, Phil McCormack, Greg Aprilliano, Bonnie Acton, Barbara Noyes, Paul Ciotti, Sam

Brickley, and Paul Pizzano, in their official capacities as members of the Pemi-Baker Regional

School Board; and their employees, agents, appointees, or successors from enforcing or

threatening to enforce HB 1205 as to Plaintiff Parker Tirrell, and requiring said Defendants and
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their employees, agents, appointees or successors to permit Plaintiff Parker Tirrell to try out for

and play on the school sports teams designated for girls on the same terms and conditions as other

girls. Plaintiff also moves this Court for an order waiving the requirement for bond or security.

       This Motion is supported by and incorporates the forthcoming Memorandum of Law in

Support of Plaintiffs’ Motion for Preliminary Injunction and Plaintiff Parker Tirrell’s Motion for

Temporary Restraining Order and the declarations filed with it, as well as the Complaint. Plaintiff

makes this motion on the grounds that H.B. 1205 violates Title IX of the Education Amendments

of 1972, 42 U.S.C. § 1983, and the Equal Protection Clause of the Fourteenth Amendment to the

United States Constitution, as set out in the accompanying memorandum of law in support of this

Motion, and that the denial of immediate relief will irreparably harm Plaintiff Parker Tirrell.

Plaintiff respectfully requests a hearing on this matter,

                                                       Respectfully submitted,

                                                       PARKER TIRRELL, by her parents and
                                                       next friends SARA TIRRELL and
                                                       ZACHARY TIRRELL,

                                                       By and through her attorneys,

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*Applications for admission pro hac vice to follow.

August 16, 2024
